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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  PLANNED PARENTHOOD OF                                  )
  INDIANA AND KENTUCKY, INC.,1                           )
                                                         )
                         Plaintiff,                      )
                                                         )
                 v.                                      )      No. 1:18-cv-1219-RLY-DLP
                                                         )
  COMMISSIONER, INDIANA STATE                            )
  DEPARTMENT OF HEALTH, et al.,                          )
                                                         )
                         Defendants.                     )

                                      Motion for Preliminary Injunction

         Plaintiff moves this Court for a preliminary injunction in this case pursuant to Rule

  65 of the Federal Rules of Civil Procedure and says that:

  1.     In its Complaint for Declaratory and Injunctive Relief / Notice of Challenge to

  Constitutionality of Indiana Statute (Dkt. 1), plaintiff claimed, among other things, that

  proposed Indiana Code § 16-34-3-4.7 (eff. July 1, 2018), requiring the reporting of certain

  “complications” following abortions was unconstitutional for several reasons.

  2.     On June 28, 2018, this Court granted a preliminary injunction preventing the

  statute from going into effect.



  1      Effective April 1, 2021, the corporation formerly known as Planned Parenthood of Indiana
  and Kentucky, Inc., merged with Planned Parenthood of the Great Northwest and the Hawaiian
  Islands, Inc., and the merged corporation is now known as Planned Parenthood Great Northwest,
  Hawai’i, Alaska, Indiana, Kentucky, Inc. On this date plaintiff has filed a motion to substitute this
  new corporation as the plaintiff in this case.
                                                   [1]
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  3.     As relevant here, in 2019, the Indiana General Assembly amended the statute to

  its current form. Ind. Code § 16-34-3-4.7 (eff. July 1, 2019) (“the Complications Statute”).

  4.     Plaintiff filed a motion for summary judgment on July 26, 2019 (Dkt. 73), arguing

  that the Complications Statute was unconstitutionally vague and was also fundamentally

  irrational in violation of both due process and equal protection.

  5.     The defendants filed their cross-motion for summary judgment on August 26,

  2019. (Dkt. 77).

  6.     On July 8, 2020, this Court entered its Entry on Cross-Motions for Summary

  Judgment that, among other things, found that the Complications Statute was

  unconstitutionally vague.2 (Dkt. 97). The Court did not address the plaintiff’s argument

  that the Complications Statute was irrational in violation of due process and equal

  protection. (Id. at 2 [“Because the Complications Statute is void, the court does not

  address Planned Parenthood’s equal protection and due process challenges.”]).

  7.     The State appealed this Court’s determination and on August 2, 2021, a panel of

  the Seventh Circuit reversed this Court’s summary judgment decision, holding instead

  that the Complications Statute was not unconstitutionally vague. Planned Parenthood of

  Indiana and Kentucky, Inc. v. Marion County Prosecutor, et al., 7 F. 4th 594 (7th Cir. 2021). In

  so holding, the court did not address plaintiff’s claim that the statute violates equal



  2       Plaintiff had also challenged a second statute that required inspection of abortion clinics
  more frequently than other health care providers. Ind. Code § 16-21-2-2.6. The Court upheld the
  constitutionality of this statute, and that decision was not challenged on appeal and is final.
                                                  [2]
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  protection and due process as irrational, instead noting that “[w]e take no position on

  these arguments and remand for the district court to consider these arguments in the first

  instance, to the extent the parties still seek a judicial decision on them.” Id. at 606.

  8.     On October 28, 2021, the Seventh Circuit issued its mandate in this case after a

  petition for rehearing with suggestion for rehearing en banc was denied.

  9.     The Complications Statute is fundamentally irrational and violates due process

  and equal protection.

  10.    Enforcement of the statute will cause plaintiff irreparable harm for which there is

  no adequate remedy at law.

  11.    The balance of harms favors the plaintiff as issuance of the injunction will merely

  maintain the status quo and will not injure the defendants.

  12.    The public interest would be served by the issuance of a preliminary injunction.

  13.    Issuance of the injunction will not cause any potential for monetary injuries to the

  defendants, and it should therefore issue without bond.

  14.    This Court should establish a briefing schedule for the parties in this matter.

  15.    In furthers support of this motion plaintiff will timely submit its supporting

  evidence and memorandum of law.

         WHEREFORE, plaintiff requests that this Court grant plaintiff a preliminary

  injunction in this matter, enjoining the Complications Statute, Indiana Code § 16-34-3-4.7,

  and for all other proper relief.


                                                [3]
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